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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA

                  v.                             Case No. 15-CR-00037-JDP

JOSHUA VAN HAFTEN,

                            Defendant.


                GOVERNMENT’S SENTENCING MEMORANDUM
______________________________________________________________________________


I.     Introduction

       Joshua Van Haften is a 36-year old man who took serious, concrete steps to fight

with foreign terrorists against the United States and its allies. Apparently for many

reasons, including the requirement that he register as a convicted sex offender because

of his prior felony sex crime conviction, Van Haften’s anger grew to the point where he

wanted to send a message to, and retaliate against, his home country. Directly to

friends and family, and also online, Van Haften made very clear his desire and plan to

fight abroad with terrorists, and to kill Americans and American allies. But he not only

spoke, he acted. Van Haften pledged his allegiance to ISIL; he traveled to Turkey; he

attempted on more than one occasion to enter Syria to begin the fight; and, while in

Turkey, he actively assisted another American planning to travel to Turkey to fight with

the terrorists.




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       Van Haften committed a federal crime of terrorism. His conduct was calculated

to influence and affect the United States government and its allies, and to retaliate

against the United States. Given this, Van Haften faces an advisory guideline range of

292-365 months in prison, capped by statute at 15 years. The United States recommends

a sentence of 15 years in prison.

II.    Argument

       Sentencing in Federal Courts is guided by 18 U.S.C. § 3553. Section 3553 directs

this Court to focus on who the defendant is and what the defendant did (Section

3553(a)(1)), and to address various societal goals in sentencing (Section 3553(a)(2-7)). A

brief analysis of each of these components supports the recommended sentence.

       A. History and Characteristics of the Defendant

       In the defense memorandum opposing the terrorism enhancement, defense

counsel contended that the defendant spoke and acted as he did because the defendant

is “nuts.” The defense contended this “condition” explained the defendant's skewed

world view, his conspiracy theories, his belief that the world-end was fast approaching,

and his desire to be with his Muslim brothers in the fight. In correctly finding the

terrorism enhancement applicable, this Court pointed out that Van Haften has been

found competent, and stated that Van Haften’s “delusional world view” and the

potential impact of the brain injury he suffered when he was 12 are factors to consider

at sentencing as potentially “relevant to the defendant’s culpability and the danger he

poses.” R. 73 at pp. 6-7.




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       Rather than being mitigating, the defendant's world view, his view that America

is evil, his conspiracy theories -- views he shares with others -- when combined with his

willingness to plan and act, make him more culpable and more dangerous, and support

the recommended 15-year sentence. Rather than calling the defendant “nuts,” better

words are “angry, troubled, and frightening.” While his views, words, and actions are

most certainly frightening to the vast majority of us, he shares them with many others

planning and committing acts of violent extremism.

       If we were to look into the minds of those convicted of committing acts of

terrorism, and those convicted of providing, or attempting to provide, material support

to terrorists, we would see angry, troubled, and frightening minds. Clearly, we will

never understand, and will always find terrifying, the minds of Timothy McVeigh, the

Oak Creek Sikh Temple murderer, and the Charleston church murderer, to name just a

few, and other mass murderers of innocent victims. These individuals are often

conspiracy theorists with an end-of-time world view. Like Van Haften, they seem

“nuts” and frightening to most of us because we can’t conceive of, nor subscribe to, the

sort of thinking that leads one to commit mass murder, or to leave the United States to

fight and possibly die with terrorists like ISIL.

       The defense will likely contend at the sentencing hearing, as it did in its terrorism

enhancement brief, that the defendant had a head injury 24 years ago, is “nuts,” and

accordingly isn't a terrorist and should be sentenced well below the 15-year maximum

penalty. To the contrary, individuals with beliefs like this defendant, beliefs the




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majority of us find strange and frightening, often intend to commit, and actually

commit, horrible acts of violence based on those beliefs.

        This defendant is a classic example of a home-grown violent extremist. He is

angry, believes the United States is evil, and believes in dangerous conspiracy theories.

Significantly, he also acted on his beliefs and world-view by traveling to Turkey and the

Syrian border in an attempt to fight with ISIL against the United States and its allies,

and by actively assisting another American who wanted to fight with the terrorists.

This defendant did much more than talk about terrorism -- he acted. Rather than being

mitigating factors, the views that fueled his actions make Van Haften more dangerous,

and deserving of the 15-year maximum sentence.

       B. Nature and Circumstances of the Offense

       18 U.S.C. § 3553(a)(1) also directs the Court to consider the nature and

circumstances of the offense -- in other words, what the defendant did. The defendant's

words and actions also support the 15-year sentence.

       Van Haften flew to Istanbul in August 2014 from Chicago for the purpose of

crossing into Syria. He intended to provide material support to ISIL by fighting against

the United States and its allies. While in Turkey, the defendant made a series of

Facebook posts clearly documenting his intentions and activities. On September 14,

Van Haften posted on Facebook a photo of himself working out, with the caption

“Hitting the gym! ... just to get ready for hiking the mountains into Shaam!” (“Shaam”




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is in reference al Al-Sham, another name for Syria.” 1) The text accompanying the

image listed the anabolic steroids Van Haften was taking, and the weight training he

was doing, as he was “[g]etting ready for the big war against Muslims.”

        On September 21 Van Haften posted: “It’s calling, I can smell it’s perfume!

Allah!!!” His message included a link for a video entitled, “HD Tour of Jannah Paradise

– Anwar Al Awlaki The Hereafter Series.” (Anwar Al-Awlaki -- a leader of Al Queda in

the Arabian Peninsula, which has claimed responsibility for several terrorist attacks

against the United States -- was killed in Yemen in 2011.) Van Haften listed his location

as: “Kucuk Istanbul Sanliurfa Turkey.” On September 21 Van Haften also texted his

mother: “If they ask you if you know where I am, say the truth, that I went to Iraq, to

fight the Americans.”

        Many of those convicted of attempting to provide material support to ISIL, like

Leon Davis in this case, have been arrested at an American airport attempting to fly

overseas to get to Syria. Unlike them, this defendant had the determination and ability

to successfully travel to Turkey and attempt to cross into Syria on several occasions.

        On September 30, Adouw At-Taghout -- a person in Syria at the time -- posted a

photo of the ISIL beheading American journalist James Foley. 2 In response, Van Haften

posted:

                 Yet, their cursed secular laws are worse than the laws of Islam,
                 and they want to say Shari' ah is worse than their secular laws.


        1Al- Sham, endonym of the region bordering the eastern Mediterranean Sea, usually known as
the Levant or the region of Syria.
2 James Foley, while working as a freelance war correspondent during the Syrian Civil War, was
abducted in 2012 in Syria. He was beheaded in August 2014 -- the first American citizen killed by ISIS.


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              A bunch of morons sucking on melons.... If the goddam
              Americans and sons of satan, Israeil wanna mutilate the dead,
              shit, we get an eye for an eye fool. Grow a set of nuts! Climb
              that fuckin tree and getcha some.

On that same day, Van Haften “liked” the following post made by At-Taghout: “The

happiest sight for us, is to meet the enemy on the battlefield!!”

       On October 7, Van Haften stated on Facebook: “My password has always been

‘Death to America’s NEW WORLD ORDER.” On October 17, Van Haften posted an

image on Facebook with his bai’ah – his oath of obedience to the leader of ISIS. On

October 22, Van Haften “liked” another post made by At-Taghout, a quote attributed to

“Sheikh Osama bin Laden”: “If avenging the killing of our people is terrorism, if killing

those who kill our children is terrorism, then history should be a witness that we are

terrorists.” Finally, in late October Van Haften sent the following texts to his mother:

              The only thing that matters to me is joining my brothers
              for the war against America liars.

              There is nothing greater than having my blood spilled on the
              battlefield against the enemies of Allah!

       In late October 2014, Van Haften made plans to meet Leon Davis – a Georgia

man planning to travel from the United States to Turkey -- so the two could travel

together to ISIL-controlled territory. Van Haften‘s role was to assist Davis in getting to

Turkey and on to Syria. Van Haften gave travel advice to Davis (no need for Davis to

shave his beard; Davis should “be gentle and warm with everyone. smile as your usual

warm self.”), and detailed directions to the Istanbul metro stop where Van Haften

would be waiting. Leon Davis did not make it to Turkey. On October 24, 2014, federal



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agents arrested him at Hartsfield International Airport in Atlanta as he was attempting

to depart for Istanbul. As he had promised, Van Haften was waiting for Davis at the

Istanbul tram stop when Davis was arrested. (On May 27, 2015, Davis pleaded guilty to

Attempting to Provide Material Support to a Foreign Terrorist Organization; in July

2015, he was sentenced to 15 years in prison.)

       Van Haften made his intentions clear to friends and family, and to others

through his online postings. And he then took serious actions confirming his intent to

join the terrorists and fight against America and its allies. His actions support the

recommended 15-year sentence.

III.   Societal Goals of Sentencing

       18 U.S.C. § 3553 directs the Court to “impose a sentence sufficient, but not

greater than necessary, to comply with the purposes of sentencing set forth in the

subsection.” Included in those factors are the need for the sentence imposed to reflect

the seriousness of the offense, to provide just punishment for the offense, and to protect

the public from further crimes of the defendant.

       A 15-year sentence in this case is just punishment and reflects the seriousness of

the offense. Joshua Van Haften travelled to Turkey, and the Syrian border, attempting

to join a terrorist organization. He intended to fight against, and to kill if necessary,

Americans and American allies. Joshua Van Haften is a dangerous, homegrown violent

extremist who has shown that he intends to act on his beliefs. The 15-year sentence will

appropriately protect the public from further crimes being committed by this

defendant.


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IV.   Conclusion

      Joshua Van Haften committed a federal crime of terrorism. He pledged his

allegiance to Abu Bakr al Baghdadi and to ISIL, and twice tried to cross from Turkey to

Syria to join the terrorist organization. Van Haften clearly intended to kill Americans

and American allies. Van Haften also assisted Leon Davis in his attempts to travel to

Syria to join ISIL. He faces an advisory guideline range of 292-365 months in prison,

capped by the statutory maximum 15-year penalty. The government respectfully

recommends that the Court impose a 15 -year sentence.

      Dated this 16th day of February 2017.


                                            Respectfully submitted,


                                                      /s/
                                            JOHN W. VAUDREUIL
                                            United States Attorney

                                                       /s/
                                            JEFFREY M. ANDERSON
                                            First Assistant U.S. Attorney

                                                      /s/
                                            LOLITA LUKOSE
                                            Trial Attorney




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